     Case: 1:15-cr-00629 Document #: 85 Filed: 06/27/18 Page 1 of 2 PageID #:230



                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
              Plaintiff,                )
                                        )
v.                                      )       NO. 15 CR 629
                                        )
SALVATORE GALIOTO,                      )       The Honorable Thomas M. Durkin
                                        )
              Defendant.                )

                       DEFENDANT SALVATORE GALIOTO’S
                        MOTION FOR A NON-JURY TRIAL

       Now comes the Defendant SALVATORE GALIOTO, by his attorney Cynthia

Giacchetti, pursuant to Rule 23 of the Federal Rules of Criminal Procedure, and

hereby moves that the charges against him in this case be tried before and by The

Honorable Thomas M. Durkin without a jury.

       The Government has been advised of this motion. We anticipate the

Government will consider the motion and advise if they will consent to a non-jury

trial pursuant to Rule 23(a)(2). This motion is filed in advance of the Government’s

decision in order to advise the Court in the event this affects issues such as ordering

of the venire, etc.

                                 Respectfully submitted,

                                 /s/ Cynthia Giacchetti
                                 Attorney for Defendant
                                 Salvatore Galioto




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    Case: 1:15-cr-00629 Document #: 85 Filed: 06/27/18 Page 2 of 2 PageID #:231



CYNTHIA GIACCHETTI
53 West Jackson–Suite 1035
Chicago, Illinois 60604
312-939-6440
cg@cgdefense.com




                          CERTIFICATE OF SERVICE

      Cynthia Giacchetti, attorney for the Defendant Salvatore Galioto hereby

certifies that Defendant Salvatore Galioto’s Motion for a Non-Jury Trial was filed

electronically using the Court’s CM/ECF E-Filing system and was served on all

parties on June 27, 2018, by operation of the Court’s electronic filing system in

accordance with Fed.R.Civ.P. 5, LR 5.5, and the General Order on Electronic Case

Filing (ECF) pursuant to the district court’s system as to ECF filers.

                                 By:/s/ Cynthia Giacchetti




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